AO 440 (Rev. 01,09) Susumpns ig a Civ ctiegs MPFRIRS9PISECF No. 3, PagelD.26 Filed 09/22/16 Page 1 of 3

SUMMONS IN A CIVIL ACTION
UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN

TESLA MOTORS, INC., a Delaware corporation

Vv.

RUTH JOHNSON, in her official capacity as Secretary
of State and Chief Motor Vehicle Administrator, BILL
SCHUETTE, in his official capacity as Attorney
General, and RICK SNYDER, in his official capacty as
Governor.

Case No. 1:16-cv-01158
Hon.

TO: RUTH JOHNSON

ADDRESS: Matthew Schneider (by consent)

Chief Legal Counsel

Michigan Department of Attorney General
525 W. Ottawa Street

Lansing, Michigan 48933

A lawsuit has been filed against you.

YOU ARE HEREBY SUMMONED and required to serve
upon plaintiff, an answer to the attached conplaint or a motion
under Rule 12 of the Federal Rules of Civil Procedure within

60__|1_ days after service of this sum mons on you (not

PLAINTIFF OR PLAINTIFF'S ATTORNEY NAME AND ADDRESS

John J. Bursch

Bursch Law PLLC

9339 Cherry Valley Avenue SE, #78
Caledonia, Michigan 49316

le . ye : CLERK OF COURT

counting the day you received it). Ify ou fail to respond,
judgment by default will be entered against you for the relief
demanded in the complaint. You must also file your answer
or motion with the Court.
The Court has offices in the following locations:

399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503

P.O. Box 698, 314 Federal Building, Marquette, MI 49855

107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007

113 Federal Building, 315 W. Allegan, Lansing, MI 48933

September 22, 2016
By: Deputy Clerk Date
PROOF OF SERVICE

This summons for

RUTH JOHNSON

(name of individual and tide, if any)

(JI personally served the summons on the individual at

was received by me on

(date}

on

(date)

(JI left the summons at the individual’s residence or usual place of abode with

of suitable age and discretion who resides there, on

(place where served)

, 4 person

(name)

, and mailed a copy to the individual’s last known address.

(date)

[_]I served the summons on

, who is designated by law to accept service

(name of individual)

of process on behalf of

on

(name of organization)

[JI returned the summons unexecuted because

(date)

LOther (specigy

My fees are $ for travel and $

for services, for a total of $

I declare under the penalty of perjury that this information is true.
Date:

Additional information regarding attempted service, etc.:

Server's signature

Server's printed name and title

Server's address
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SUMMONS IN A CIVIL ACTION
UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN

TESLA MOTORS, INC., a Delaware corporation

v.

RUTH JOHNSON, in her official capacity as Secretary
of State and Chief Motor Vehicle Administrator, BILL
SCHUETTE, in his official capacity as Attorney
General, and RICK SNYDER, in his official capacty as
Governor.

Case No. 1:16-cv-01158
Hon.

TO: BILL SCHUETTE

ADDRESS: Matthew Schneider (by consent)

Chief Legal Counsel

Michigan Department of Attorney General
525 W. Ottawa Street

Lansing, Michigan 48933

A lawsuit has been filed against you.

YOU ARE HEREBY SUMMONED and required to serve
upon plaintiff, an answer to the attached conplaint or a motion
under Rule 12 of the Federal Rules of Civil Procedure within
60__|i=_ days after service of this sum mons on you (not
counting the day you received it). Ify ou fail to respond,
judgment by default will be entered against you for the relief
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or motion with the Court.

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107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007
113 Federal Building, 315 W. Allegan, Lansing, MI 48933

PLAINTIFF OR PLAINTIFF'S ATTORNEY NAME AND ADDRESS
John J. Bursch

Bursch Law PLLC
9339 Cherry Valley Avenue SE, #78
Caledonia, Michigan 49316

CLERK OF COURT

September 22, 2016

By: Deputy Clerk Datc

PROOF OF SERVICE

This summons for

was received by me on

BILL. SCHUETTE

{name of individual and utle, if any)

(II personally served the summons on the individual at

(date)

on

(date)

(JI left the summons at the individual’s residence or usual place of abode with

of suitable age and discretion who resides there, on

(place where served)

, a person

{name)

, and mailed a copy to the individual’s last known address.

(date)

(II served the summons on

, who is designated by law to accept service

(name of individual}

of process on behalf of

on

(name of organization)

[JI returned the summons unexecuted because

(date)

(Other (specify

My fees are $ for travel and $

for services, for a total of $

I declare under the penalty of perjury that this information is true.

Date:

Additional information regarding attempted service, etc.:

Server's signature

Server's printed name and fitle

Server's address
AO 440 Rev. 0109, Symnpns Ba Gi icigg yy RREIBSECF No. 3, PagelD.28 Filed 09/22/16 Page 3 of 3

SUMMONS IN A CIVIL ACTION

UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TESLA MOTORS, INC., a Delaware corporation

Case No. 1:16-cv-01158
Hon.

TO: RICK SNYDER
ADDRESS: Matthew Schneider (by consent)
Chief Legal Counsel
Michigan Department of Attorney General

Vv.
RUTH JOHNSON, in her official capacity as Secretary
of State and Chief Motor Vehicle Administrator, BILL

SCHUETTE, in his official capacity as Attorney 525 W. Ottawa Street
General, and RICK SNYDER, in his official capacty as Lansing, Michigan 48933
Governor.
A lawsuit has been filed against you. PLAINTIFF OR PLAINTIFF’S ATTORNEY NAME AND ADDRESS

John J. Bursch

. Bursch Law PLLC
YOU ARE HEREBY SUMMONED and required to serve 9339 Cherry Valley Avenue SE, #78

upon plaintiff, an answer to the attached conplaint or a motion Caledonia, Michigan 49316
under 12 of the Federal Rules of Civil Procedure within

60 days after service of this sum mons on you (not
counting the day you received it). Ify ou fail to respond,
judgment by default will be entered against you for the relief
demanded in the complaint. You must also file your answer
or motion with the Court.

CLERK OF COURT

The Court has offices in the following locations:

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P.O. Box 698, 314 Federal Building, Marquette, MI 49855

107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007
113 Federal Building, 315 W. Allegan, Lansing, MI 48933

September 22, 2016

By: Deputy Clerk Date

PROOF OF SERVICE
This summons for RICK SNYDER was received by me on

(name of individual and ute, if. any) (date)

(II personally served the summons on the individual at
on . (place where served)

(date)

(11 left the summons at the individual’s residence or usual place of abode with , a person

(name)

of suitable age and discretion who resides there, on 7 , and mailed a copy to the individual’s last known address.
(date)

[JI served the summons on , who is designated by law to accept service

(name of individual)

of process on behalf of on

(name of organization) (date)

[_]I returned the summons unexecuted because
[_]Other (specify)

My fees are $ for travel and $ for services, for a total of $

I declare under the penalty of perjury that this information is true.
Date:

Server's signature

Additional information regarding attempted service, etc.:

Server's printed name and title

Server's address
